               THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
              CRIMINAL CASE NO. 1:06-cr-00031-MR-11


UNITED STATES OF AMERICA,       )
                                )
                                )
              vs.               )                     ORDER
                                )
                                )
MARK CHRISTOPHER WATKINS.       )
_______________________________ )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss Modification Request without Prejudice [Doc. 304].

     For the reasons stated in the Government’s motion, and for cause

shown,

     IT IS, THEREFORE, ORDERED that the Government’s Motion [Doc.

304] is GRANTED, and the outstanding portion of the request for

modification of the conditions of supervision [Doc. 289] is DISMISSED

WITHOUT PREJUDICE.

     IT IS FURTHER ORDERED that the hearing scheduled in this matter

on June 10, 2014 is hereby CANCELLED.

     IT IS SO ORDERED.         Signed: June 9, 2014




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